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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 22-CR-20104-JEM(s)(s)(s)

UNITED STATES OF AMERICA
vs.
JOSEPH JOEL JOHN,

Defendant.

STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

If this matter were to proceed to trial, the Government would prove the following facts
beyond a reasonable doubt. The Parties agree that these facts, which do not include all facts
known to the Government and the Defendant, JOSEPH JOEL JOHN, are sufficient to prove the
guilt of the Defendant as to counts one, two and three of the Third Superseding Indictment:

Starting in approximately April 2021, and continuing through July 7, 2021, JOHN
conspired to provide and provided material support and resources, specifically personnel
(including himself) and services, knowing and intending that the material support and resources
would be used to prepare for and carry out the forcible removal of Haitian President Jovenel Moise
by kidnapping and/or assassination (the “operation”), and the death of President Jovenel Moise
resulted from the operation. JOHN provided advice (to include introductions to gangs, whose
support the conspirators sought to solicit), helped secure rental vehicles (that were used in the

operation), and attempted to procure weapons to facilitate carrying out the operation.

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JOHN attended various meetings with co-conspirators to discuss the operation, both in the
Southern District of Florida and in Haiti. At such meetings, the need to acquire weapons to
facilitate the operation was discussed. One such meeting occurred in April 2021 at the office of
Counter Terrorist Unit Federal Academy and Counter Terrorist Security (collectively “CTU”) in
the Southern District of Florida. Present at this meeting were several co-conspirators, including
Arcangel Pretel Ortiz (“Ortiz”), Antonio Intriago (“Intriago”), James Solages (“Solages”),
Christian Sanon (“Sanon”), and others. Another meeting held in April 2021 at the office of co-
conspirator Walter Veintemilla’s Worldwide Capital Lending Group was attended by Veintemilla,
Ortiz, Intriago, Solages, Sanon, and others. At this meeting, the group spoke about financial
opportunities to invest in Haiti after the removal of President Moise. JOHN also was present at
meetings where the assassination of President Moise was discussed. One such meeting occurred
on July 6, 2021, the night before the operation, while many of JOHN’s co-conspirators, including
James Solages, Joseph Vincent, Rodolphe Jaar, German Rivera, and Mario Antonio Palacios
Palacios, were staging for the operation at a property controlled by Jaar. At that time, Solages
told JOHN and others present, in substance, that the operation was going to result in the
assassination of President Moise.

On July 7, 2021, JOHN’s co-conspirators entered the presidential residence in Haiti with

the intent and purpose of killing President Moise, and in fact, the President was killed.

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The aforementioned criminal acts were calculated to influence and affect the conduct of

the Haitian government by intimidation and coercion, and JOHN intended to do so.

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ISTANT U.S. ATTORNEY

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BRIAN KIRLEW, ESQ.
ATTORNEY FOR\DEFENDANT

Date: G-/Z- “ZS By:

